     Case 2:22-cr-00014-PLM ECF No. 1, PageID.1 Filed 07/29/22 Page 1 of 3
                                                                                    FILED - MQ
                                                                               July 29, 2022 10:24 AM .
                                                                                    CLERK OF COURT
                             UNITED STATES DISTRICT COURT                        U.S. DISTRICT.  RT

                             WESTERN DISTRICT OF MICHIGAN
                                                                           WESTERN DISTRICT         I              N   0-
                                                                           BY: mlc SCANNED BY:
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,
                                                                           2:22-cr-14
                                                                           Robert J. Jonker· U.S. District Judge
                       Plaintiff,                                          Maarten Vermaat - Magistrate Judge


              V.


GARDEN BAY FISHERIES, LLC,                            FELONY INFORMATION
JAMES P. HERMES, and
MICHAEL J. HERMES,

                       Defendants.
- - - - - - - - - - - - - -I
       The United States Attorney charges:

                                            COUNT 1
                                             (Felony)
                                     (False Labeling of Fish)

       Between about March 17, 2017, and about September 23, 20 17, in the Northern Division

of the Western District of Michigan, the defendant,

                               GARDEN BAY FISHERIES, LLC,

through its employees and agents who were acting on behalf of the company and within the

scope of their employment, knowingly made and submitted a false record with respect to fish

w ith a market value in excess of $350.00, that were purchased by defendant and transported in

interstate commerce.

16 U.S.C. § 3372(d)(2)
16 U.S.C. § 3373(d)(3)(A)(ii)




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                                           COUNT2
                                         (Misdemeanor)      1

                                   (Selling Contraband Fish)

       Between about March 17, 2017, and about September 23, 2017, in the Northern Division

of the Western District of Michigan, the defendant,

                                     JAMES P. HERMES,

knowingly sold fish in interstate commerce, and in the exercise of due care should have

known that the fish had been possessed in violation of Michigan state law, that is, Mich.·

Comp. Laws§ 324.47319(3).

16 U.S.C. § 3372(a)(2)(A)
16 U.S.C. § 3373(d)(2) ·




                                               2
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                                          COUNT3
                                        (Misdemeanor) '
                                  (Selling Contraband Fish)

       Between about March 17, 2017, and about September 23, 2017, in the Western District of

Michigan, Northern Division, the defendant,

                                  MICHAEL J. HERMES,

knowingly sold fish in interstate commerce, and in the exercise of due care should have

known that the fish had been possessed in violation of Michigan state law, that is, Mich.

Comp. Laws§ 324.47319(3).

16 U.S.C. § 3372(a)(2)(A)
16 U.S.C. § 3373(d)(2)


                                              MARK A. TOTTEN
                                              United States Attorney

Date: July 29, 2022                            /s/ Patil D. Lochner
                                              PAUL D. LOCHNER
                                              Assist~t United States Attorney


                                              TODD KIM
                                              Assistant Attorney General
                                              Environment and
                                              Natural Resources Division

Date: July 29, 2022                            /s/ Joel LaBissonniere
                                              JOEL LABISSONNIERE
                                              Trial Attorney




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